Oo Oo YY HH wo

10

il

12
13
14

15

16
17
18
19
20
21
22

23

24

25

Case: 3:16-cv-00181-MPM Doc #: 65-3 Filed: 06/16/17 1 of 3 PagelD #: 415

Deposition of James Lee Sons, taken December 8, 2016

Page l

 

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF MISSISSIPPI
OXFORD DIVISION

JAMES LEE SONS, individually and
on behalf of the wrongful death
beneficiaries of JAMES ALLEN

PARKS SONS, deceased PLAINTIFFS
VS. NO. 3:16-CV-181-MPM-RP
BENTON COUNTY, MISSISSIPPI, ET AL DEFENDANTS

KKK KKK KKK KKK KE KERR KK KEK KKK KEKE KEK KKK KK KKKKKKRKKK KK KEK

VIDEOTAPED DEPOSITION OF JAMES LEE SONS

KR KEK KKK KKK KKK KEK ERK KEKE KKK KKEKRKKEKKKREKKEKKRKEEKKKKKKKEKKKKKKE

TAKEN AT THE INSTANCE OF THE DEFENDANTS
IN THE LAW OFFICES OF FARESE, FARESE & FARESE, P.A.
122 CHURCH STREET, ASHLAND, MISSISSIPPI
ON DECEMBER 8, 2016, BEGINNING AT 9:54 A.M.

APPEARANCES NOTED HEREIN

Reported by: REGINA D. RUSSELL, RPR, CCR 1110

 

ADVANCED COURT REPORTING
P.O. BOX 761
TUPELO, MS 38802-0761
(662) 690-1500

 

 

 

ADVANCED COURT REPORTING TD fF FERS
662-690-1500 fi fy tes
SP La
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case: 3:16-cv-00181-MPM Doc #: 65-3 Filed: 06/16/17 2 of 3 PagelD #: 416

Deposition of James Lee Sons, taken December 8, 2016

 

 

Page 75

at this point.

Q. Okay. And that was based on his anger
issues and --

A. And the thing up with the --

Q. The gun?

A. Yeah. The gun, shooting outside.

Q. Right. And I assume maybe based on your

previous experience with him?

A. Correct.

Q. Okay. But, again, he had not told you that
he was going to kill himself and he had not put a gun
in his mouth or, as far as you know, threatened to
hurt himself?

A. Right.

Q. At least in this time period; is that
correct?

A. Yeah, that's correct.

Q. Okay. Now, based -- after your
conversation with Joe on September 18th, 2015, you
traveled over to the chancery clerk's office in
Benton County. Do you remember doing that?

A. Yes.

Q. Do you remember speaking with the chancery
clerk or one of her assistants?

A. Chancery clerk.

 

ADVANCED COURT REPORTING
662-690-1500

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case: 3:16-cv-00181-MPM Doc #: 65-3 Filed: 06/16/17 3 of 3 PagelD #: 417

Deposition of James Lee Sons, taken December 8, 2016

 

 

Page 76
Q. What is her or his name; do you remember?
A. No. But I got it wrote down.
Q. That's fine. It's not a memory contest.

I'm just trying to find out what you know. Now, I
want to turn your attention to Exhibit 3. Okay? If
you want to get your glasses.

A. Yes.

Q. Exhibit 3 is what we call a Writ to Take
Custody. This is the court order issued by the
chancery court designee giving Joe Batts and the
Benton County Sheriff's Department an order to go and
detain Jimmy. Okay?

A. Okay.

Q. I'll represent to you that. And I don't
see your handwriting anywhere on that first page.
Will you confirm that for me, please, sir?

A. Yes. This is my handwriting.

Q. Okay.

A. Looks like my printing.

Q. I think that's Mr. Batts' handwriting, but
I don't know that to be the case. But you believe
that's your handwriting?

A. Yeah. But, I mean, she could have had her,
they kind of look close to the same too.

Q. Okay. Do you remember writing James Sons,

 

ADVANCED COURT REPORTING
662-690-1500

 
